                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:13-00209
                                                    )      JUDGE CAMPBELL
JUAN COLLAZO                                        )


                                            ORDER

         Pending before the Court is a Motion to Continue Suppression Hearing (D.E. #53) (Docket

No. 79). The Motion is GRANTED.

         The suppression hearing currently scheduled for April 23, 2014, is RESCHEDULED for

May 20, 2014, at 9:00 a.m.

         It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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